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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION


Novie Dale Carmen, Jerlin C. Amistoso, and
Kersteen B. Flores, individually and as                      Case No. 1:20cv00313
Representatives of the Classes,
                                                             Judge Douglas R. Cole
        Plaintiffs,

v.                                                           STIPULATION AND
                                                            [PROPOSED] ORDER:
Health Carousel, LLC,                                         ESI PROTOCOL

        Defendant.



        In order to streamline discovery to promote a “just, speedy and inexpensive

determination” of this action as required by Federal Rule of Civil Procedure 1, the parties hereby

stipulate to the following protocol governing the discovery of documents and electronically

stored information (“ESI”) in this matter:

                               I)      GENERAL PROVISIONS

A)      COOPERATION

        The parties agree that they will adhere to the principles of cooperation, transparency,

reasonableness, and proportionality, as set forth in the Federal Rules of Civil Procedure and as

interpreted by federal case law, as they conduct discovery in the litigation.

B)      ESI LIAISONS

        1.      Each party agrees to designate an ESI liaison who will participate in the

resolution of ESI discovery issues; who is (a) familiar with the party’s technologists, electronic

systems, and capabilities and able to explain those systems and answer relevant questions; (b)

knowledgeable about the technical aspects of e-discovery, including electronic document



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storage, organization, and format issues; (c) prepared to participate in e-discovery dispute

resolutions; and (d) current on the party’s ESI discovery efforts so they are able to meaningful

contribute to the discussions.

       2.      Plaintiff’s ESI Liaison will be Angi Kittelson and Defendant’s ESI Liaison will be

Kenneth Foisy.

                                 II)   SUMMARY OF PROCESS

       This ESI protocol outlines an iterative process by which the parties will coordinate the

identification, collection, and production of custodians, documents, and ESI.

       1.      The producing party will determine the most efficient and reasonable way to

search for, collect, and review responsive documents in its possession, custody, or control.

       2.      Both parties commit to seriously consider the use of TAR/CAL or similar assisted

search and review tools.

       3.      Both parties further agree to disclose to each other the method(s) used to search,

collect, and review responsive documents in their possession, custody, or control.

       4.        As to any systems or requests for which the producing party determines that

selecting custodians and search terms is appropriate, the producing party will provide the

requesting party with proposed custodians and search terms prior to finalizing its search and

collection. The requesting party shall have 7 days to make a counterproposal. Should the

requesting party not make a counterproposal within the time period stated above, the producing

party shall proceed with its proposed custodians and search terms. Should the requesting party

make a timely counterproposal and the parties are not able to reach agreement through meet and

confer efforts, the requesting party may seek the Court’s assistance with resolving the dispute.

Should the requesting party not act within 7 days of meet and confer efforts concluding, the



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producing party shall not be later obligated to rerun searches or add new custodians absent a

showing of good cause.

         5.    The parties may undertake the above process more than once should new search

term/custodians become relevant as the case develops, including by request of the receiving

party.

                                III)    INACCESSIBLE DATA

         1.    The parties agree to identify to each other when making document productions

any responsive ESI that is not reasonably accessible and the reason that the producing party

believes the data to be not reasonably accessible.

         2.    Each party reserves the right to challenge whether data is not reasonably

accessible and to seek the Court’s assistance with resolving any dispute remaining after meet and

confer efforts conclude.

SO STIPULATED:

Dated: January 13, 2022                              January 13, 2022

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SO ORDERED:

Date:




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